            Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 1 of 19 PageID# 50
SmartSummary                                                                                           Ronald Johnson
Yourpersonal medical benefits statement                                                      Jul 01,2018-Jul31,2018


                       Date of
                       Service




Claim number 820181920382091- continued
 LAB CHEMISTRY.        07/07/18    157.32      157.32
 In-network;(301)2
 LAB CHEMISTRY,        07/07/18    57.96       57.96
 In-network;(301)2
 LAB HEMATOLOGY,       07/07/18     30.36      30,36
 In-network;(305)2
 RAD CHEST XRAY,       07/07/18    294.40      234.95                               59.45      59.45
 In-network;(324)2
 EMERROOM              07/07/18   1,319.29     979.04                               340.25    260.25        80.00
 GENERAL,
 In-network;(450)1
 2

 RX REQ DET            07/07/18     2.60        2.60
 CODING,
 In-network;(636)2
 EKG/ECG GENERAL,      07/07/18    234.26      234.26
_ In-network;(730)2
                       Totals:    2,105.64    1,705.94                              399.70    319.70        80.00

     1. You pay a $80.00 copayment for EMER ROOM GENERAL from an in-network provider.
     2. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount Is based upon
        information available at the time of claim processing. This amount represents any applicable deductibles,
        coinsurance,copayments, and non-covered services as outlined in your benefit plan document. It includes any
        amounts that the member may have previously paid to the provider of service. Also, any amounts denied for
        additional information may be re-evaluated.
 Claim number 820181910193459

JENCARE SR MED CTR NORFOLK

 ESTAB. PT. 10MIN.     07/02/18     56.00                  11.86                    44.14
 LIMIT/MINOR,
 in-network;
(99212)1,2
 MOST RECENT           07/02/18                                      (See below.)
 SYSTOLIC BLOOD
 PRESSURE 130-139
  MM HG (DM)
 (HTN.CKD),
 In-network;
(3075F)i,3
                                                                                Sections continued on next page O




                      GHHJGHFEN
    ^uu          ^      'o/ / /
          Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 2 of 19 PageID# 51
                                                                                      Page 7 of 12
SmartSummary                                                                                            Ronajd Johnson
Your personal medical benefits statement                                                  Jui 01,2018-Jui 31,2018

                     Dote of
                     Service




Claim number 820181970126939

CITY OF CHESAPEAKE EMS

 GROUND              07/07/18                                                                   10.62
 MILEAGE,PER
 STATUTE MILE,
 Out-of-network;
(A0425)i,3,4
 AMB SERVICE,BASIC 07/07/18       470.00                 106.82                363.18          290.54        72.64

 SUPPORT,EMERGENC
 Y TRANSPORT
(BLS,EMERGENCY).
 Out-of-network:
(A0429)2, 3,4
                     Totals:      488.00      0.00       111.55                376.45          301.16        75.29
                                                                                                             75.29
  1. You pay 20% of the total amount for GROUND MILEAGE.PER STATUTE MILE from an out-of-network provider.
  2. You pay 20% of the total amount for AMB SERVICE,BASIC LIFE SUPPORT,EMERGENCY TRANSPORT
     (BLS,EMERGENCY)from an out-of-network provider.
  3. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount Is based upon
     Information available at the time of claim processing. This amount represents any applicable deductibles,
     coinsurance,copayments, and non-covered services as outlined in your benefit plan document. It Includes any
     amounts that the member may have previously paid to the provider of service. Also,any amounts denied for
     additional Information may be re-evaluated.
  4. You may be responsible for paying some or all of the excluded charges to your provider.
 Claim number 820181920333549                                      ,

SANJAY M PATEL MD

 RADIOLOGIC EXAM     07/07/18     36.00
 CHEST 2 VIEWS,
 Out-of-network;
 (71046)1,2
                     Totals:      36.00       0.00        24.91                 11.09           11.09         0.00
   1. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount Is based upon
      Information available at the time of claim processing. This amount represents any applicable deductibles,
     coinsurance,copayments, and non-covered services as outlined In your benefit plan document. 11 Includes any
      amounts that the member may have previously paid to the provider of service. Also, any amounts denied for
      additional Information may be re-evaiuated.
   2. You may be responsible for paying some or all of the excluded charges to your provider.
 Claim number 820181920382091

CHESAPEAKE GENERAL HOSPITAL

 SUPPLIES GENERAL, 07/07/18
 In-network;(270)2
                                                                               Section 3 continued on next page O


                     GHHJGHFEN
          Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 3 of 19 PageID# Page
                                                                                      52 4 of 10
SraertSummary                                                                                            Ronald Johnson
Your personal medical benefits statement                                                   Aug 01,2018-Aug 31,2018


             Section 3. Details for claims processed Aug 01, 2018 - Aug 31, 2018
FT
Look over the information about your claims does it seem correct?
                                                                                                                       1
 • if you have questions or think there might be a mistake, start by calling the doctor's office or other service
   provider. Ask them to explain the claim.
 • if you still have questions, call us at Customer Care using the number on the back of your ID card or
   1-800-733-3602(TTY: 711).
You have the right to make an appeal or complaint.
 • Making an appeal Is a formal way of asking us to changeour decisionabouXyour coverage. You can make an
   appeal if we deny a claim. You can also make an appeal if we approve a claim but you disagree with how much
   you are paying for the item or services. For information about making an appeal, call us at Customer Care using
   the number on the back of your ID card or 1-800-733-3602(TTY: 711).
Remember, this report is NOT A BILL:
 • If you have not already paid the amount shown for "your share," wait until you get a bill from the provider.
 • If you get a bill that is higherXhan the amount shown for "your share," call us at Customer Care using the number
   on the back of your ID card or 1-800-733-3602(TTY: 711).
i/Vhat if you suspect Medicare fraud or dishonest billing?
 • Most people and companies that provide Medicare health services, supplies,and equipment are honest. However,
   there are a few dishonest providers who charge Medicare on purpose for health care services, supplies,or
   equipment you didn't get.
 • Fraud costs all of us millions of dollars every year. If you notice something suspicious that might be Medicare
   fraud, report it by calling us at Customer Care using the number on the back of your ID card or 1 -800-733-3602
   (TTY: 711). We are here 7 days a week,8 a.m.- 8 p.m. Saturdays,Sundaysand holidays your call may be handled
   by our automated phone system. You can also call 1-800-MEDICARE (1-800-633-4227),24 hours a day,7 days a
   week.(TTY users should call 1-877-486-2048.)
   To learn more about Medicare fraud and how to help prevent it, visit http://www.stopmedicarefraud.govor
   http://www.smpresource.org.
                     Dote of
                     Service




Claim number 820182360146301

EMILYAHAHNMD

 ER VISIT IMMED.     08/11/18     568.00                   393.47                 174.53        174.53
 LIFE THREATINGt
 Out-of-network;
(99285)1,2
                     Totals:      568.00                   393.47                 174.53        174.53          0.00
                                                                                 Section 3continued on next page ©


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            Case 2:20-cv-00557-RCY-DEM
                                     .© Document 3-8 Filed 12/22/20 Page 4 of 19 PageID# 53
                                                                                         Page^ of 10
                                                                                                         Ronald Johnson
  Yourpersonal medical benefits statement                                                   Aug01,2018-Aug 31,2018


               Section 2. Deductible and Yearly Limits


     2018 Combined Part B Annual Deductible



    In 2018, your plan deductible is $183.00.
    For most covered services,the plan pays its share of the cost only after you have paid your yearly plan deductible.

                                                                          20%      40%     60%     80%     100%
     As of August 31, 2018, you have paid $183.00
     toward your yearly plan deductible.

                                                                        $36.60           $109.80         $183.00


I V 2018 Participating/In Network Out of Pocket

    In 2018, $6,700.00 is the most you will have to pay for covered services.
                                                                  0%      20%      40%     60%     80%     100%
     As of August 31, 2018, you have had $1,243.07 in
     out-of-pocket costs that count toward your
     out-of-pocket maximum for covered services.
                                                                       $1,340.00         $4,020.00       $6,700.00



  YEARLY LIMITS - these limits give you financial protection
  These limits tell the most you will have to pay in 2018 in "out-of-pocket" costs {copays,coinsurance, and your
  deductible)for medical and hospital services covered by the plan.

  These yearly limits are called your "out-of-pocket maximums." They put a limit on how much you have to pay, but
  they do jiot put a limit on how much care you can get. This means:
     • Once you have reached a limit in out-of-pocket costs, vou stop paying medical claims costs.
     • You keep getting your medical and hospital services covered by the plan as usual, and the plan will pavthe
       full costfor the rest of the year.




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           Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 5 of 19 PageID#Page
                                                                                       54 8 of 10
SmartSummary                                                                                         Ronald Johnson
'^our personal medical benefits statement                                                  Aug 01,2018-Aug 31.2018

                     bate of
  #-if               Service




 Claim number820182190211155- continued
 DISCHARGE           07/31/18                                       (See below.)
 MEDICATIONS
 RECONCILED WITH
 THE CURRENT
 MEDICATION LIST,
 In-network;
 (1111F)i,3
                     Totals:      56.00                                            44.14

   1. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount is based upon
      information available at the time of claim processing. This amount represents any applicable deductlbles,
      coinsurance,copayments, and non-covered services as outlined in your benefit plan document. 11 includes any
      amounts that the member may have previously paid to the provider of service. Also,any amounts denied for
      additional information may be re-evaluated.
  2. You may be responsible for paying some or all of the excluded charges to your provider.
  3. The rate has been pre-negotiated by contractual arrangement with this provider.


 f You currently receive one SmartSummaryfor your medical claims and one SmartSummaryRx for your Part D
     drugs. Beginning this fall, you will receive one SmartSummarythat includes both medical claims and Part D
     drugs. All of the current information on the separate statements you receive today will be included in one new
     SmartSummarythat is easierto read and understand.

|| Using in-network doctors may save you money. Humana negotiates rates with in-network doctors to help
     lower costs. You can see a list of in-network doctors by using the Physician Findertool at Humana.com.

! Has your address or phone number changed? To make sure Humana is able to contact you about valuable
     plan information, it's important to let us know if you have changed your telephone number, mailing or
     residential address,even if it's just a temporary change. Please call the Customer Service number on the back
     of your Humana member identification card with any changesto your contact information.




                    GHHJGHFEN
            Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 6 of 19 PageID# 55
                                                                                        Page 7 of 10
SmartSummary                                                                                                 Ok-   .
                                                                                                         Ronald Johnson
Your personal medical benefits statement                                                     Aug 01,2018-Aug 31,2018

                       Dote of
         'V'           Service




Claim number 820182270366883- continued
 RAD CHEST XRAY,      08/11/18     294.40     234.95                                59.45       59.45
 In-network;(324)2
 EMER ROOM            08/11/18     477.30      358.01                               119.29      39.29         80.00
 GENERAL,
 In-network;(450)1,
 2

 RX REQ DEI            08/11/18
 CODING.
 In-network;(636)2
 RX REQ DEI            08/11/18    13.96       13.96
 CODING,
 In-network;(636)2
                       Totals;    1.251.75     890.13      0.00                     361.62      281.62         80.00
                                                                                                               80.00
     1. You pay a $80.00 copayment for EMER ROOM GENERAL from an In-network provider.
     2. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount Is based upon
        information available at the time of claim processing. This amount represents any applicable deductlbles,
        coinsurance,copayments, and non-covered sen/Ices as outlined In your benefit plan document. 11 includes any
        amounts that the member may have previously paid to the provider of service. Also, any amounts denied for
        additional Information may be re-evaluated.
 Claim number 820182190211155

JENGARE SR MED CTR NORFOLK

 ESTAB. PT.10MIN.      07/31/18     56.00                  11.86                    44.14
 LIMIT/MINOR,
 In-network;
 (99212)1,2
 MOST RECENT           07/31/18                                      (See below.)
 SYSTOLIC BLOOD
 PRESSURE LESS
 THAN 130 MM HG
 (DM)(HTN,CKD),
 In-network;
 (3074F)i,3
 MOST RECENT           07/31/18                                      (See below.)
 DiASTOLIC BLOOD
 PRESSURE LESS
 THAN 80 MM HG
 (HTN.CKD)(DM),
 In-network;
 (3078F)i.3
                                                                                Section 3continued on next page ©




Humana,               ghhjghfen
        Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 7 of 19 PageID# 56
 Sm a rtSu m mary Rx'                                                  RonaidJohnson

 Your personal prescription benefits statement                         Member ID: H76034307;
                                                                                      Humana Value Plus      :
 This summary is your "Explanation of Benefits"(EGB)for your           Plan name:
                                                                                      H6622-045(HMO)LiS
 Medicare prescription drug coverage (Part D). Piease review this
                                                                       RxPCNofRx
 summary and keep it for your records. THIS iS NOT A BiLL.
                                                                       Group Number: 03200000

August prescription costs


                   Amount you paid                         $3         Statement date: August 1-31, 2018
                    Medicare subsidy                   $48
               m Hiimana paid                          $12.15
                                                                      this summary Includes: Sections 1 - 5
                August prescription costs              $64.79         !l: Your prescriptions during the past          2
                                                                       month

                                                                      2: Your "out-of-pocket costs" and               4
Your benefits summary                                                 "total drug costs"(amounts,and              ^
                                                                       definitions)
        You pay:
                                                                      3; Updates to the 2018 Drug List that;;,
        - Preferred Genericdrugs$1.25
                                                                      will affect drugs you take
        - other drugs$3.70
        The plan and Medicare pay the rest                              4: If you see mistakes on this                5
        You are in Stage 1. During this payrhent stage,the plan       ;summary or have questions, what
        pays its share of the cost of your drugs and you (or others   . should you do?
        on your behalf, including "Extra Help"from Medicare) pay
        your share of the cost.                                       :5; Important things to know about          - 6
                                                                       your drug coverage and your rights

        You pay: $0.00
        The plan and Medicare pay the rest




                                                                       Contact us
                                                                      If you have questions orneed help, contact us
                                                                      free of charge.        , .   :.

                                                                       Benefit questions
                                                                       visit Humana.com or call 1-800-457-4708
                     PDPBOOKPDP0027A0904201820390004239N              (TTY711)
                     RONALD JOHNSON
                                                                       Hours of operation
                     117 GATEWAY CT APT 209
                                                                       Monday - Sunday,8 a.m. - 8 p.m. Saturdays,
                     CHESAPEAKE VA 23320-4594
                                                                       Sundays and holidays your call may be handled
                                                                       byourautomated phonesystem

                                                                       For large print or anotherformat
                                                                       To get this material In otherformats, or ask for
                   © 2018 Humana inc.                                  language translation services, call Humana v r.:
                   Y0040 GHHK3XREN                                     Customer Care at the number on
   Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 8 of 19 PageID# 57
SmartSummaryRx"
                                                                                                               Page 2 of-10
 Your personal prescription benefits statement                                                           Ronald Johnson




              Section 1;
              Your prescriptions during the past month

Humana negotiates a reduced price with the pharmacy for its members, which is reflected In "Prescription cost with
)lan" column. The prescription cost can vary by pharmacy,location, quantity, strength and dosage of the medication.
\djusted claims may not be reflected in the table below; or if displayed, the amount paid may not be accurate
)ecauseof the amount of the adjustment. THIS IS NOT A BILL. Keep this notice for your records.

;^hart 1 - Your prescriptionsforcovered Part D drugs for August 2018
^hart 1 shows your prescriptions for covered Part D drugs for the past month. Please look over this information about
'our prescriptions to be sure it Is correct. If you have any questions or think there is a mistake, see Section 4(page 5),
t tells you what to do.




                                       m
)Tug Name;
^ug 14,2018 j Jencare Rx Norfolk [ Claim number# 186261331091
/entolin HFA90 mcg/actuation
lerosot inhaler                                      $52.64          $3.70            $0.00          $0.00           $48.94
7 day supply
)rug Category: Preferred Brand drugs
\ug 17,2018 1 Walgreens#7886
                           | Claim number# 186298322931
;hlorhexidinegluconate 0.12 %
nouthwash                                             57^5           50 00            $0.00          $7.15            $0.001
16 day supply                                                                                                                 ro
                                                                                                                              o
                                                                                                                              o

)rug Category: Preferred Generic drugs                                                                                        »-



                                                                                                                              V


\ug27,2018 ijbencareRx Norfolk 1 Claim number# 386393400721                                              • 1
                                                                                                           \   '
                                                                                                                              tt
                                                                                                                              1£
                                                                                                                              e
                                                                                                                              H

                                                                                                                              c

)rednisone 20 mg tablet                                                                                                       c
                                                                                                                              c



)day supply                                           $5.00          $0.00            $0.00          $5.00            $0.001
)rug Category: Preferred Generic drugs                                                                                        c




                                           Section 1 Prescription claims continued on next page ©




Humana
     Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 9 of 19 PageID# 58




                                           JenCare Senior
                                           Medical Center
                                            A CHENMED COMPANY



                                                     549 E Brambleton Avenue
                                                       Norfolk, Virginia 23510
                                          Phone:'757-533-9441'' j Fax:"(757)612-4353"
                                                      www.JenCareMed.com




         August 27, 2018



         To Whom it Concerns:


         I am the primary care provider of Mr. Ronald Johnson who recently has been unc
         dermatitis (skin reaction)secondary to a chemical in the dish soap that is used by
         I previously provided a letter to his employer to ensure that he avoid exposure as
         recent exposure is causing his skin to itch severely and respond poorly to the pre
         medications given when I last saw him.

         I am writing this second request to ask that he be accommodated with skin prote
         be exposed to the soap, he will need rubber gloves that preferably provide cover
         this not be provided,then I request that you accommodate him to perform othei
         maintain employment but avoid further exposure and irritation of his skin.

          I am treating him for this condition in the office today and will have him stay out
          Should you have any other questions or concerns, please do not hesitate to cont;
          consideration in this matter.




          Kind Regards,



          Lacia Chapman, MD

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information (PHI) intended only for the use of the entity or individual(s) named above. The auth
information is prohibited from disclosing this information to any other party unless required or a
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arrange for the return or destruction of these documents.
Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 10 of 19 PageID# 59


 HUMANA
 PO BOX 14163
 LEXINGTON KY 40512-4163




                            00344



 PDPBOOKPDP0027A0904201820390004239N
 RONALD JOHNSON
 117 GATEWAY 01 APT 209
 CHESAPEAKE VA 23320-4594




 Dear RONALD JOHNSON

 Here is the reprint of the information you requested,
 Please contact Humana for any further assistance.




 Sincerely,

 Humana
         Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 11 of 19 PageID# 60
SmartSummary                                                                                            Ronald Johnson
Your personal medical benefits statement                                                   Sep01,2018-Sep 30,2018

                       Date of
                       Service




Claim number820182560091208-continued

   1. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount Is based upon
      Information available at the time of claim processing. This amount represents any applicable deductibles,
     coinsurance,copayments, and non-covered services as outlined in your benefit plan document. 11 Includes any
     amounts that the member may have previously paid to the provider of service. Also, any amounts denied for
     additional Information may be re-evaluated.
  2. The rate has been pre-negotiated by contractual arrangementwith this provider.
 Claim number820182540447135

JENCARE SR MED CTR NORFOLK

 ESTAB.PT. 10M1N.     07/24/18    56.00                                            44.14
 LIMIT/MINOR,
 In-network;
(99212)1,2
 RADIOLOGIC           07/24/18    37.00                                            26.29        21.03
 EXAMINATION,FOOT
 : 2 VIEWS,
 In-network;
(73620) 1.2
 MEDICATION LIST      07/24/18                                      (See below.)
 DOCUMENTED IN
 MEDICAL RECORD
 (COA), In-network;
(1159F)i,3
 RVW MEDS BY RX/DR 07/24/18                                         (See below.)
 IN RCRD,
 In-network;
 (1160F)i.3
                       Totals:    93.00                   22.57                    70.43        56.34

   1. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount is based upon
      information available at the time of claim processing. This amount represents any applicable deductibles,
      coinsurance,copayments, and non-covered services as outlined in your benefit plan document. It Includes any
      amounts that the member may have previously paid to the provider of service. Also,any amounts denied for
      additional Information may be re-evaluated.
   2. You may be responsible for paying some or all of the excluded charges to your provider.
   3. The rate has been pre-negotlated by contractual arrangementwith this provider.
 Claim number 820182480237063

JENCARE SR MED CTR NORFOLK

 ESTAB. PT. 15MIN      08/27/18   93.00                   19.59                                 58.73
 LOW/MODERATE,
 In-network;
 (99213)1,2
                                                                               Sections continued on next page O




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          Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 12 of 19 PageID# 61 6 of 10
                                                                                     Page
SmartSummary                                                                                           Ronald -Johnson
'our personal medical benefits statement                                                Sep01,2018-Sep 30,2018

                    Date of
                    Service




Claim number 820182480237063- continued
MOST RECENT         08/27/18                                       (See below.)
SYSTOLIC BLOOD
PRESSURE LESS
THAN130MMHG
(DM)(HTN.CKD),
in-network;
(3074F)i,3
MOST RECENT         08/27/18                                       (See below.)
DiASTOLIC BLOOD
PRESSURE LESS
THAN 80 MM HG
(HTN.CKD)(DM),
In-network;
{3078F)i,3
DISCHARGE           08/27/18                                       (See below.)
MEDICATIONS
RECONCILED WITH
THE CURRENT
MEDiCATiON LIST,
In-network;
(1111F)i,3
                    Totals:      93.00                                                         58.73

  1. EXPLANATION OF MEMBER RESPONSIBILITY The estimated member's responsibility amount is based upon
     Information available at the time of claim processing. This amount represents any applicable deductlbles,
     coinsurance,copayments, and non-covered services as outlined in your benefit plan document, i t Includes any
     amounts that the member may have previously paid to the provider of service. Also, any amounts denied for
     additional information may be re-evaluated.
  2. You may be responsible for paying some or all of the excluded charges to your provider.
  3. The rate has been pre-negotiated by contractual arrangement with this provider.


 J You currently receive one SmartSummaryfor your medical claims and one SmartSummaryRx for your Part D
    drugs. Beglnnlngthlsfall, you will receive one SmartSummarythat Includes both medical claims and PartD
    drugs. All of the current Information on the separate statements you receive today will be Included In one new
    SmartSummarythat Is easlerto read and understand.

 J In April 2018, CMS will begin mailing Medicare beneficiaries new red, white and blue Medicare cards with a new
    unique number that does not Include the Social Security Number. Medicare is taking this step to protect you
    from Identity theft and fraud. It may be several months before you receive your new card. Once you receive It,
    destroy your old one. Remember,you will still use your Humana member ID card whenever you need care.




                   GHHJGHFEN
Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 13 of 19 PageID# 62
                                                                ci/tcLe/vee
  HUMANA CLAIMS OFFICE
  P.O. BOX 14603
  LEXINGTON, KY 40512-4603




                             00413



  MEDEOBEBPCE0101A0807201813330007905LV
  RONALD JOHNSON
  117 GATEWAY 01 APT 209
  CHESAPEAKE,VA 23320-4594




  Dear RONALD JOHNSON

  Here is the reprint of the information you requested,
  Please contact Humana for any further assistance.




  Sincerely,

  Humana
         Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 14 of 19 PageID# 63
  SmartSummary
  Your personal medical benefits statement
                                                                                                                 Page 5 of'
                                                                                                              Ronald Johns(
                                                                                               Aug01,2018-Aug31,20l
                        Dote of
                        Service




  Claim number 820182360146301- continued
    1. EXPLANATION OF MEMBER RESPONSIBILITY The estlmafpH momhor'              -u-.-
       information available at the time of claim processina This nmmmt?             amount Is based upon
       coinsurance,copayments and non-covpred cic.rx/ir-c.c a tr ^ represents any applicable deductibles,
      amounts that the member may have previously paid to*the Dmv'd                            document. It includes any
      additional information may be re-evaluated                                                               denied for
   2. You may be responsible for paying some or ail of the excluded charges to vour nrnviH»r
  Claim number 820182320030118                                                                    ^
 UBORATORY CORP OF AMERICA
  TESTOSTERONE,  08/1S/18
 ^TAl^)ln-network:
                 08/15/18
                                                                     (See below.)

   1. EXPLANATION OF MEMBER RESPONSIRll ITV
                                              iswo
                                              155.00      MO ^            .
                                                                                     i55TO
                                                                                     155.00                       KT^
      information available at the time of claim processing'iL^aml^uTit renre^^Y^'''''''^ amount is based upon
      coinsurance, copayments and non-coverpH            ao      ti- °        represents any applicable deductibles,
     amounts that the member may have previously paid tn m               'h                   document. It includes any
     additional information may be re-rvaluated'
                                               '                                                              denied for
  2. The rate has been pre-negotiated by contractual arrangement with this provider
 Claim number 820182330284212             ~                                              ^—               -
JENCARE SR MED CTR NORFOLK
 ESTAB. FT. 15MIN
 LOW/MODERATE,        08/14/18    93.00                  19.59
                                                                                                  58.73
 In-network
(99213)1,2
most recent
SYSTOLIC BLOOD        08/14/18
                                                                    (See below.)
pressure LESS
THAN 130 MM HG
(DM)(HTN.CKD),
In-network:
(3074F)i.3
MOST RECENT
                     08/14/18
DIASTOLIC BLOOD                                                     (See below.)
PRESSURE LESS
THAN 80 MM HG
(HTN.CKD)(DM),
In-network:
(3078F)i,3

                                                                                  Sections continued on next page O




     JOQ.           GHHJGHFEN
            Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 15 of 19 PageID# 646 of 10
                                                                                      Page

martSummary                                                                                           Ronald Johnson
                                                                                             Aug01,2018-Aug3i2018
ur personal medical benefits statement
                   Date of
                   Service




laim number 820182330284212-continued
                                                                     (See below.)
)|SCHARGE          08/14/18




                                              S            SS                                   iiS ^
    BPUAHmON OF MEMBER RESPONSIBILITY Th.                                                            «d«ibl.r
    information available at the time of claim                      ^ y^ur benefit plan document. It includes any
    roirsss™—
 B r:r;:rr-.rT::«:"
  3. The rate has been pre-negotiated by contractual arrangement with this provider. ^                     _
Slaim number 820182270323013
)AV1DM COHEN MD
                                                                                    11.09        11.09
RADIOLOGIC exam        08/11/18     36.00
CHEST 2 VIEWS.
Out-of-network;
(71046) 1,2                                                                                       11.09
                       Total.-
                       Totals:      36.00        OS        SS                       tl-OO         "■»
     EXPUNATION Of MEMBER RESPONSIBILITY TL.                                                              S.Str.
     information available at the time of claim               outlined in your benefit plan document. It Includes any


   , iTrrrzz                                     r.... .o.
 JIalm number 820182270366883
 IHESAPEAKE GENERAL HOSPITAL                                                                      182.88       0.00
                                                             0.00                   182 .88
  PHAR IV THERAPY,      08/11/18    197.06        14.18
  In-network; (260)2                                                                                           0.00
                                                                                      0.00         0.00
                                     125.12       125.12     0.00
  labchemistry,         08/11/18
  In-network; (301)2                                                                                           0.00
                                                                                      0.00          0.00
                                     80.04        80.04      0.00
  LAB CHEMISTRY,        08/11/18
  In-network; (301)2                                                                                               0.00
                                                                                      0.00          0.00
                                     62.56        62.56      0.00
  LAB HEMATOLOGY,        08/11/18
                                                                                    Section 3 continued on next page O
          Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 16 of 19 PageID# 65

OTHER IMPORTANT AGREEMENTS
t.   FINANCE CHARGE AND PAYMENTS                                       d. Insurance you must have on the vehicle.
     a. How we will figure Finance Charge. We will figure                 You agree to have physical damage Insurance
        the Finance Charge on a daily basis at the Annual                 covering loss of or damage to the vehicle for the term
        Percentage Rate on the unpaid part of the Amount                   of this contract.The insurance must cover our interest
           Financed.                                                       in the vehicle. If you do not have this insurance, we
     b. How we will apply payments. We may apply each                      may, if we choose, buy physical damage Insurance. If
        payment to the earned and unpaid part of the                       we decide to buy physical damage Insurance, we may
        Finance Charge, to the unpaid part of the Amount                   either buy insurance that covers your interest and our
        Financed and to other amounts you owe under this                  Interest In the vehicle,or buy insurance that covers only
        contract in any order we choose.
     c. How late payments or early payments change                        our interest. If we buy either type of insurance, we will
        what you must pay. We based the Finance Charge,                   tell you which type and the charge you must pay.The
        Total of Payments, and Total Sale Price shown on                  charge will be the premium of the insurance and a
        page 1 of this contract on the assumption that you will           finance charge computed at the Annual Percentage
        make every payment on the day it is due. Your                     Rate shown on page 1 of this contract or, at our option,
        Finance Charge, Total of Payments, and Total Sale                 the highest rate the law permits.
        Price will be more if you pay late and less if you pay            If the vehicle is lost or damaged,you agree that we may
        early. Changes may take the form of a larger or                   use any insurance settlement to reduce what you owe
        smaller final payment or, at our option, more or fewer            or repair the vehicle.
        payments of the same amount as your scheduled                  e. What happens to returned Insurance, mainte
        payment with a.sfniiiir^al payment. We will send                  nance, service, or other contract charges. If we
        you a notice teflipg you ^out these changi^ before                 pbfaiq ajsjund ojjn^ranpp^aintenance, service, or
        the final scheputed paymerifjs]dij^            IP                   therGontra                       e that we may subtract
     d. You may prepay. You may prepay all or p^ of the                      e rsf jnd fr
        unpaid part of the Amomt RInar ced            time '
        without penaltyplpVouJft^, yWtint^ay^j^ earned?                                                    UR OTHER PROMISES
           and unpaid part oTTheT^nancVcliafge^iTCf^ll otrtdr              You may owe late charges.You will pay a late charge
           amounts due up to the date of your payment.
     e.    Your right to refinance a balloon payment. A bal                on each late payment as shown on page 1 of this
           loon payment Is any payment other than a down pay               contract. Acceptance of a late payment or late charge
           ment that is more than 10% greater than the regular             does not excuse your late payment or mean that you
           or recurring installment payments. If you use the               may keep making late payments.
           vehicle primarily for consumer purposes, you have               If you pay late, we may also take the steps described
           the right to refinance a balloon payment over an                below.
           extended period with additional payments. The               b. You may have to pay all you owe at once. If you
           additional periodic payments will not be more than              break your promises (default), we may demand that
           10% greater than the regularly scheduled install                you pay all you owe on this contract at once. Default
           ment payments.                                                  means:
                                                                          • You pay any payment(plus any late charges) more
     YOUR OTHER PROMISES TO US //                                                     ays late or not at all;
     a. If the vehicle is damaged,destroyed, or missing.                               us false, incomplete, or misleading In-
        You agree to pay us all you owe under this contract                       ion on a credit application;
           even if the vehicle is damageoK destrgyeqAor                                a proceeding in bankruptcy or one is
           missing.                                 _             _         sta'ded against you or your property; or
     b.    Using the vehicle. You agree not to remove the                 •     break any agreements In this contract.
           vehicle from the U.S. or Canada, or to sell, rent,
           lease, or transfer any interest in the vehicle or this          The^mount you will owe will be the unpaid part of the
           contract without our written permission. You agree             Amount Financed plus the earned and unpaid part of
           not to expose the vehicle to misuse, seizure,                  the Finance Charge, any late charges, and any
           confiscation, or involuntary transfer. If we pay any           amounts due because you defaulted.
           repair bills, storage bills, taxes, fines, or charges on    c. You may have to pay collection costs. If we hire an
           the vehicle, you agree to repay the amount when we             attorney to collect what you owe, you will pay the
           ask for it.                                                    attorney's fee and court costs as the law allows.You will
     c.    Security Interest.                                             also pay any collection costs we incur as the law
           You give us a security interest in:                             allows.
           • The vehicle and all parts or goods put on it;             d. We may take the vehicle from you. If you default, we
           • All money or goods received (proceeds) for the                may take (repossess)the vehicle from you if we do so
             vehicle;                                                      peacefully and the law allows it. If your vehicle has an
           • All insurance, maintenance,service, or other con              electronic tracking device, you agree that we may use
             tracts we finance for you; and                                the device to find the vehicle. If we take the vehicle, any
           • All proceeds from insurance, maintenance,                     accessories, equipment, and replacement parts will
             service, or other contracts we finance for you.               stay with the vehicle. If any personal items are in the
              This includes any refunds of premiums or charges             vehicle, we may store them for you at your expense. If
              from the contracts.
           This secures payment of all you owe on this contract.           you do not ask for these items back, we may dispose
                                                                           of them as the law allows.
           It also secures your other agreements in this
           contract. You will make sure the title shows our            e. How you can get the vehicle back if we take it. If we
           security interest(lien) in the vehicle.You will not allow      repossess the vehicle, you may pay to get it back
           any other security interest to be placed on the title          (redeem).We will tell you how much to pay to redeem.
           without our written permission.                                Your right to redeem ends when we sell the vehicle.

                                                                                                LAW 553-VA-ARB-e 7/14 v1   Page 3 of 5
         Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 17 of 19 PageID# 66
13:26:50 Tuesday, April 28, 2020


      VLXVl                         VIEW LEDGER                                   09999
                                                             P           12,672.07
      ACCOUNT NUMBER . 90102408288450001              ^      0                 98.10
         JOHNSON; RONALD                                     1            1,539.45
         R   N4 03         0240000500 2PL A 03/09/2020       C                 639.00
         REFR:                            CLTR: D2SCI      BAL            14,948.62
         AGCY: D2SCI 03/11/2020
         START DATE                LEDGER 1                        LAST PAGE
         DATE/REFR         TYPE    AFEE/TOTAL       INTR/PRIN          COSTS/OINC
         07/02/2019                           .00       1,539.45                 639.00
          CHARGE OFF                   16,849.37       14,572.82                  98.10
         10/08/2019                           .00           .00                    .00
          CW B193917                    1,900.75-       1,900.75-                  .00
                                                        1,539.45                 639.00
          TOT CHARGES                  16,849.37       14,572.82                  98.10
                                                            .00                    .00
          TOT RECOVERIES                1,900.75-       1,900.75-                  .00
                                                        1,539.45                 639.00
          TOT BALANCES                 14,948.62       12,672.07                  98.10



           END OF FILE.
       COMMAND ===>
       PF1=HELP PF3=EXIT PF4=PR0MPT PF5=PREV PF6=NEXT PF8=FWD PF9=RETRV PF12=CANCEL
           Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 18 of 19 PageID#Page
                                                                                        67 2 of 10
SmartSummary'                                                                             Ronald Johnson
Youi: personal medical benefits statement                                     Aug01,2018-Aug31,2018



               Section 1. totals for medical and hospital claims and Part B
FT             Pharmacy claims
                                                                                                  ]
Totals for this Month:       2.159.75    1,045.13    449.83        819.79        561.28         80.00
 Medical

 (for claims processed
 from August 1, 2018
 to August 31, 2018)
Totals for this Month:
 Part B Pharmacy
claims

 (for claims processed
 from August 1,2018
 to August 31, 2018)
Totals for 2018:             21,987,53   14,390.77   2,103.68      8,461.48      4,348.47 .   1,018.39
Medical

 (for all dates of service
 from January 1,2018
 through August 31,

Totals for2018: Part
B Pharmacy claims

 (for all dates of service
 from January 1,2018
 through August 31,
 2018)




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         Case 2:20-cv-00557-RCY-DEM Document 3-8 Filed 12/22/20 Page 19 of 19 PageID# 68

                                                                                            Hi^monq
                                                          This summary includes: Sections 1-3
                                                          1: TOTALS for medical and hospital ciaims and
                                                          Part B Pharmacy claims                        , 2
                                                          2: Deductible and Yearly Limits                 3
For: Ronald Johnson                                       3: Details for claims processed Aug 01, 2018- Aug
                                                          31,2018                                         4
Member ID:        H76034307

                                                          This information is not a complete description of
Group Name:       HMO VIRGINIA                            benefits. Contact the plan for more information..
                                                          Limitations, copayments and restrictions may
                                                          apply. Benefits, premiums and/or member
Humana is a Medicare Advantage HMO plan with a            cost-share may change each year.
Medicare contract. Enrollment in this Humana plan
depends on contract renewal.                              Humana Customer Care

www.Humana.com                                            if you have questions, call the number on the
                                                          back of your ID card or 1-800-733-3,602(TTY: ■ v
                                                          711). We are here 7 days a week,8 a.m.- 8 p.m.
This Is not a bill:                                       Saturdays, Sundaysand holidays your call may be
                                                          handled by our automated phone system.
■ This monthly report of claims we have processed tells
  what care you have received, what the plan has paid,
  and how much you have paid (or can expectto be
  billed).
• if you owe anything, your doctors and other health
  care providers will send you a bill.
• This report covers medical and hospital care only. We
  send a separate report on Part D prescription drugs.
■ If you notice something suspicious that might be
  dishonestbiiling, you can report it by calling
  1-800-MEDtCARE (1-800-633-4227), 24 hours a day,7
  days a week.(TTY users should call 1-877-486-2048.)




             Humana
             HUMANA CLAIMS OFFICE
             P.O. BOX 14603
             LEXINGTON, KY 40512-4603




                  MEDEOBEBPCE0102A0907201814040007943LV

                  RONALD JOHNSON
                  117 GATEWAY CT APT 209
                  CHESAPEAKE, VA 23320-4594




  2018 Humana Inc. I GHHJGHFEN
